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EXHIBIT A
 

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REGULATIONS GOVERNING DISCIPLINARY, CLASSIFICATION, AND MAIL PROCEDURES FOR ALL
INMATES AT THE ADULT CORRECTIONAL INSTITUTIONS, STATE OF RHODE ISLAND. (Morris Rules)

|]. GENERAL INFORMATION

A. Definition

Classification .. . contributes to a smoothly, efficiently, operated correctional program by the

pooling [**37] of all relevant information concerning the offender, by devising a program for the
individual based upon that information, and by keeping that program realistically in line with the
individual's requirements. If furnishes an orderly method to the institution administrator by which the
varied needs and requirements of each inmate may be followed through from commitment to
discharge. Through its diagnostic and coordinating functions, classification not only contributes to the
objective of rehabilitation but also to custody, discipline, work assignments, officer and inmate morale,
and the effective use of training opportunities. Through the data it develops, it assists in long-range
planning and development, both in the correctional system as a whole and in the individual institution.

B. Objectives
The Classification Process:

The primary objective of classification as a systematic process is the development and administration of
an integrated and realistic program of treatment for the individual, with procedures for changing the
program when indicated. This primary objective is attained through five general approaches: (a) The
analysis of the individual's problems through the us of every available diagnostic technique, including
social investigation, [*162] medical, psychological, psychiatric examinations, educational, vocational,
religious, and recreational studies. The observations of custodial officers offer data of value; (b) A
treatment and training program is evolved in staff conference during or after the inmate's personal
appearance before the Board, based upon these analyses and a frank discussion of its purposes with the
inmate; (c) The program decided upon must be placed into operation; (d) It may be revised when
indicated. Classification, a dynamic process, cannot be effective unless program modifications are made
in accordance with the changing needs of the individual inmate; (e) What is done for the inmate in the
institution needs to be correlated with his program on parole.

C. Essential Features
Essential Features of Classification:

1. The Classification Process: The classification process consists of organized procedures by which the
diagnosis, treatment-planning, and the carrying out of the component parts of the general treatment
program are coordinated and focused on the individual in prison and on parole. Procedures shall be as
indicated in the General Laws of Rhode Island, 42-56-29.
 

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2. The Reception Program. The reception program includes the instruction of orientation of the newly-
received inmate regrading the institutional and parole programs during his stay in reception facility
while the initial diagnostic case studies are being made.

3. The Admission Summary. The admission summary consists of the compilation, first, of information
from all phases of the diagnostic study during the reception period; and, second, of the listing of
recommendations issuing from this diagnosis for treatment of such individual. The admission summary
is the cornerstone upon which a cumulative case history is developed, as information about the inmate
is added to it systematically during his time in prison.

4. The Records Office. A records office, conveniently located and well organized, is essential for the
classification program. The cumulative case histories are the primary sources of information about the
inmate's programs and all other aspects of their cases.

5. The Institutional Classification Board. The institutional Classification Board consists of personnel as
indicated in the General Laws of Rhode Island, 42-56-30 as amended. They meet together as a whole or
in subgroups to consider and to direct the care and treatment program of each individual inmate.

6. The Initial Classification Meeting. The initial classification meeting occurs shortly after an inmate's
assignment to an institution. All diagnostic factors available in the case are studied, and a realistic
program of custodial care and constructive treatment is formulated.

7. Reclassification. Reclassification meetings are held at regular intervals, and whenever a major change
in an inmate's program appears indicated. Such reviews of an individual's case help insure continuity in
the treatment program and expedite necessary program revisions to meet the changing needs of the
inmate.

8. Classification Procedures Immediately Prior to Parole or Release. These classification procedures shall
be as indicated in the General Laws of Rhode Island.

C. Applicable Statutes, Rhode Island General Laws, 42-56-29 AS AMENDED. Receiving and orientation
standards which will safeguard society and which will provide for the most efficient possible
rehabilitation of individual prisoners there shall be established within the Department of Corrections a
receiving and orientation unit which shall receive all male persons sentenced to the Adult Correctional
Institution for a term of imprisonment of more than one year. Every such person so sentenced shall be
segregated for a period not to exceed thirty (30) days during which period such person shall be studied
and evaluated to determine whether such person shall be maximum, medium, or minimum security risk,
and to develop a program of rehabilitation, education and medical and other [*163] care as shall be
deemed necessary and appropriate to prepare such person to become a useful member of society.
During such period, medical, psychometric and psychological examinations shall be made of such person
and the results thereof, together with the nature of the offense for which such person has been
committed, the previous criminal history, if any, the recommendations of the department of the
attorney general and of the sentencing court, and the social history of such person shall be studied and
evaluated in determining the degree of custodial care of such person, the rehabilitation program for
such person, such medical or other care as may be necessary, and such spiritual and religious guidance
as Shall be indicated by the preference of such person.
 

 

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42-56-30, CLASSIFICATION BOARD-For the purpose of such study and in order to regulate a system of
classification of persons committed to the custody of the department, there shall be within the
department a classification board consisting of five (5) persons to be appointed by the Director of the
Department of Corrections to serve at his pleasure. The Director shall also have the authority to
establish an addition classification board to facilitate the classification system when he deems
necessary.

Sec. 2. This act shall take effect upon passage.

(42-56-31)-Determination of classification and rehabilitation programs of prisoners.-It shall be the duty
of said classification board to review all studies made of each prisoner during the period of his reception
and from time to time thereafter as shall be necessary to further the purposes of this chapter; and to
recommend to the director the security classification and rehabilitation program for such person. Said
director shall review said recommendation and if he shall approve the same he shall cause said
recommendation to be put into effect. In the event he shall disapprove the same, he shall request said
board to make further study and review. In the event thereafter the director shall disapprove such
further recommendation, said decision shall be final.

(42-56-32)-Classification Unit.-Within said Department of Corrections, there shall be a classification unit
which shall collect and record all the data concerning each person sentenced to the Adult Correctional
Institutions. Said unit shall periodically review the file of each male person and shall report to the board
its findings and recommendations for such persons as shall have been sentenced to imprisonment for
more than one year for such action as the board may deem necessary and appropriate. The
classification unit shall furnish the parole board for its consideration in every case the file of each person
under consideration for parole.

13-8-22, AS AMENDED. Manner of obtaining information by board.-The parole board in the discharge of
its duties under this chapter shall not be required to receive or consider any petition, and it may secure
the information upon which is exercises its authority, or upon which it makes its findings in any case, in
such manner and by such means as it may consider most fitting to carry out the purposes of this
chapter; provided, however, it shall be the duty of the clerks of the several courts of the state, the
sheriffs and their deputies, the police officers of the several cities and towns of the state, the probation
officers, the officers of the Adult Correctional Institutions, and every person having charge of any other
place where prisoners are confined or detained, to furnish to the parole board and to any member
thereof, any and all information they may have relating to the character and history of any prisoner
whose sentence is placed under the control of the board by this chapter. In the case of prisoners
transferred to federal institutions under the provisions of 13-12-1, as amended, of the general laws, the
parole board may, in its discretion, arrange to obtain information concerning such prisoners from the
appropriate officials of the United State Bureau of Prisons; such information shall include, but shall not
be limited to, testimony of the prisoner being considered for parole, [*164] official records and reports,
including recommendations concerning the prisoners. The parole board is authorized [**45] to request
of the contracting authority inclusion of provisions for obtaining the aforesaid information in contracts
made pursuant to 13-12-1, as amended, of the general laws.

13-8-23. Agencies required to give reports to parole board.-Information concerning applicants for parole
shall be provided by (a) the Assistant Director of Adult Services who shall submit a list of all prisoners
under his control who will be eligible for parole in a given month not later than the tenth day of the
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second month preceding. Such list shall identify the prisoner by name, offense, date of commitment; (b)
the Assistant Director of Adult Services who shall secure reports from prison officials who have had
direct contact with the prisoner including the Deputy Assistant Director of Adult Services, the chaplain,
the work detail officer, the prison physician, and the classification officer. He shall transmit such reports,
together with all pertinent classification information, such as social history, etc., and any actions or
recommendations made by a classification board or committee in the institution to the office of the
parole board not later than the twentieth day of the month next preceding the month in which the
individual is eligible to appear before the board; (c) the attorney general's department who shall supply
to the office of the parole board a report of any recommendation which it may care to make, and shall
consult the trial judge in the case to determine if he may wish to make any comment or
recommendations; (d) the state psychiatrist who shall examine the prisoner upon notice from the office
of the parole board and shall submit his findings and recommendations to the office of the parole board
not later than the twentieth day of the month next preceding the month in which the prisoner is eligible
to appear before the board; (e) the psychological services agency who shall upon notice from the office
of the parole board examine the prisoner and report their findings and recommendations to the office
of the parole board not later than the twentieth day of the month next preceding the month in which
the prisoner is eligible to appear before the board; (f) the state Department of Corrections which shall
submit a transcript of the previous criminal record of the prisoner including the date of offenses, nature
of offenses, and the disposition of each; a copy of the presentence investigation; a full summary of the
contact of this division with the prisoner during any prior period under supervision, either probation or
parole, or both; and any recommendations concerning the current application for parole.

I]. CLASSIFICATION CATEGORIES
Receiving Status.

Category of all inmates remanded to institution by court after disposition of charge. Receiving status is
not to exceed thirty (30) days pursuant to 42-56-29 of the General Laws of Rhode Island, as amended.

A. Category "A":

General prison population. Normal category of referral from receiving unit and normal category of
inmate during term at the Adult Correctional Institutions.

Inmate may be removed from category for the following reasons:
1. Temporary removal for stated period by Disciplinary Board after conviction of disciplinary offense.

2. Reclassification by Classification Board shall be predicated on conduct of inmate which indicates
inability to adjust in general prison population, for protection of the inmate or others, and for the
security of the institution.

All inmates within category shall be eligible for all work and education, rehabilitative and recreational
programs of the institution as availability provides. They shall be afforded full visiting privileges and
normal category living location provided for by policy.
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B. Category "B":

Category of inmates who, because of their pattern of conduct, require on a temporary [*165] basis
close restrictive movement and closer supervision than Category "A" population. Work eligibility is
suspended in this category, but the inmate shall have use of educational materials recommended by the
education department.

The inmate in this category shall be subject to the following controls:
1. Living conditions to be determined by the administration.

2. They shall remain unemployed.

3, Meals in cells-subject to administrative decision.

4. No televisions or radios are allowed.

5. No institutional activities, other than rehabilitative and educational programs in the discretion of the
deputy assistant director or assistant director.

6. Visiting to be held in area other than regular visiting room to be approved by member of the
administration staff, position of deputy warden or his superior. Inmate's hair length is not to be a factor
in determining the visiting privileges.

7. May attend religious services.

8. Limited yard privileges for a period of one hour per day, weather permitting.
9, Routine health service-normal toilet articles allowed.
a. Showers-minimum of two a week or daily if possible.
b. Physician-submit request to officer.

c. Dentist-submit request to officer.

d. Medical emergencies to be attended to immediately.
10. Regular store orders except glass.

11. Usual clothing regulations.

12. Request to staff via "pink slip” or letter.

13. Reading material subject to administrative control.

14. Weekly change of linen and laundry service.

C. Category "C":
 

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Category of inmates whose conduct indicates chronic inability to adjust to general prison population or
who require maximum protection for themselves or others who constitute a serious threat to the
security of the institution. The inmates shall have use of educational materials and services
recommended by the education department and approved by the deputy assistant director. Hobby
activity shall be allowed subject to the control of the deputy assistant director.

Inmates in this category shall be subject to the following controls:
1. Separate living location-to be determined by the deputy assistant director or his designee.

2. Visiting to be held in an area other than the regular visiting room to be approved by a member of the
administration staff with the position of deputy assistant director or his superior. Inmates' hair length is
not to be a factor in determining the visiting privileges.

3. All regular store orders except glass.
4. Normal toilet articles.

5. Meals in cells or at table as determined by assistant director or deputy assistant director after
consultation with officer in charge.

6. Work-routine housekeeping duties with the unit only.

7. Spiritual needs-chaplains to visit regularly or on request.

8. Request to see staff via "pink slip" or letter.

9. Health

a. Showers-minimum of three a week, but daily showers if possible.
b. Physician-submit request to officer.

c. Dentist-submit request to officer at breakfast time.

d. Exercise-one hour a day, outdoors, at least every other day, Monday through Friday. Weekends and
holidays excluded. Outdoor exercise will not be given in inclement weather.

[*166] e. Medical emergencies to be attended to immediately.

10. Travel-all inmates leaving an entering the unit shall be searched and shall be escorted to and from
their destination.

11. Reading material, subject to institutional control.
12. No televisions or phonographs.

13. Radios with earphones only.

14. Weekly change of linen. Weekly laundry privileges.
15. Mail-usual mail privileges.

16. Clothing-regulation shirt and trousers.
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17. No institutional activities.

D. Category "D":

Category of inmates who because of their course of conduct while classified within Category "C" require
closer control than provided with "C" category. In this category, the inmates shall have use of
educational materials and services recommended by the education department and approved by the
deputy assistant director. Hobby activity may be allowed subject to the discretion of the deputy
assistant director. Inmates in this category shall be subject to the following controls:

1

2.

8.

9.

. Separate living location to be determined by the deputy assistant director, his designee, or superior.

Unemployed except housekeeping details in the unit.

. Meals in the cell.

. Spiritual needs-chaplains to visit regularly and upon request.
. Health-same as "C". Exercise-same as "C".

. Visits-same as "C".

. Mail-same as "C".

Request to see staff-via "pink slip" [**52] or letter.

Normal toilet articles (except razors)-same as "C".

10. Store orders-toilet articles and tobacco products only.

11. Reading materials subject to institutional control.

12. No institutional activities.

13. No television, no radios.

14. Travel-same as "C".

15. Weekly change of linen. Weekly change of laundry.

CLASSIFICATION PROCEDURES

A. The Classification Board.

1. The classification board will meet together as a whole or in sub-groups. It shall be the duty of the
chairman of the board to preside at the classification meeting. He shall determine the order of

proceeding in each hearing and shall be responsible for determining the relevancy of information
presented to the board.

No sub-groups shall consist of less than three persons.
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2. The Classification Board shall review the status of every inmate in"B" and "C" classification at least
every ninety (90) days. An inmate placed in "C" classification shall be entitled to review upon his request
in writing giving the reasons for such request, after thirty (30) days in such classification; and thereafter
he shall be entitled to review if either (a) his request is supported by a statement from any

institution [**53] officer, chaplain, teacher, classification counselor, physician, or employee, or (b) his
request includes new information or circumstances not previously called to the attention of the
Classification Board. Inmates in "D" classification shall be entitled to review every thirty (30) days.

B. Notice. In cases where any downgrading of classification grade is to be considered, an inmate shall
receive timely written notice. Said notice shall indicate why and also inform the inmate of his right to be
assisted by a classification counselor at the classification meeting. If an inmate requests assistance of a
classification counselor, such assistance will be rendered a reasonable time in advance of the hearing.

C. Classification Meeting.

1. No decision of the Classification Board considering a possible change of status shall be made without
consulting the inmate's central file.

2. The chairman of the board shall explain the purpose of this meeting and the particular aspects of the
inmates' records which may result in a classification change.

3. No misconduct shall be considered by the Classification Board unless the Disciplinary Board has made
a finding unfavorable to the [**54] inmate.

4. The findings of the Disciplinary Board as to a particular infraction shall be conclusive.

5. The inmate's file shall not be available to the inmate but must be reviewed by the classification
counselor representing the inmate.

6. The inmate shall have the right to present all pertinent information to the Board. In cases where
downgrading of classification is being considered, this shall include the right to reasonable call and
examine witnesses.

7. The Board shall discuss with the inmate any contemplation of classification change and the reasons
therefor.

8. Upon completion of the discussion, the Board shall take the man under advisement.

9. After decision is reached, the inmate shall be called before Board to hear the decision and to be
advised of its rationale and meaning.

10. A decision of the Classification Board must be based upon substantial evidence and reflect
consideration of an inmate's entire record.

11. A record of the classification meeting shall include:
a. A summary of the proceedings and matters considered,

b. The classification decision manifesting a consideration of an inmate's total record and based upon
substantial evidence therein.
 

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12. All recommendations of the Classification Board shall be subject to the review of the assistant
director pursuant to the provisions of 42-56-31 of the General Laws of Rhode Island.

RECORDS

The central file of each inmate committed to the Adult Correctional Institutions for more than one year
must include the following:

A) Regular case summaries.
B) Probation officer's report and other diagnostic summaries from other agencies.

C) Up-to-date progress reports in the areas of work assignments, vocational training, education,
psychiatry, and medical treatment.

D) Records of Disciplinary Board determinations.
E) Any correspondence relating to the inmate.

F) Identification material.

G) Arecord of all classification transactions.
DISCIPLINARY PROCEDURES

PROCEDURAL OUTLINE FOR DISCIPLINARY ACTION
FIVE MANDATORY STEPS:

1. Written charge by reporting officer or employee
2. Investigation and review by superior officer

3. Hearing before Disciplinary Board

4, Administrative review

5. Record

|. CHARGE BY REPORTING OFFICER OR EMPLOYEE

A. An officer or employee observing minor violations should handle such incidents tactfully and firmly by
warning and counselling.

1. If the officer or employee considers the imposition of discipline necessary for a minor offense, he may
at his discretion present the inmate with the option of a written charge and subsequent appearance
before a Disciplinary Board, or administrative loss of institutional privileges for a period of up to two
nights.

a) The charge and choice of disposition must be presented to the inmate with dispatch.
b) The inmate must execute a signed waiver of his right to appear before the Disciplinary Board.

c) If such waiver is obtained, the administrative penalty must commence immediately.
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d) Records of all such two night losses of institutional privileges shall be maintained for one calendar
year, then shall be destroyed.

e) The inmate shall be given a copy of any waiver of a right to the Disciplinary Hearing he executes and
records of any punishment resulting therefrom.

f) Refusal by an inmate to waive his rights to be granted a Disciplinary Hearing can in no way be held
against him. Following demand for a Disciplinary Hearing on a minor violation, the inmate may not be
confined to his cell pending said hearing as a threat to the order of safety of the [**57] institution. If the
inmate is subsequently found guilty by the Disciplinary Board, punishment may not be imposed beyond
the two night loss of institutional privileges, unless additional sufficient rationale is found by the
Disciplinary Board.

2. The inmate may be presented the aforementioned choice of loss of institutional privileges only once
during each calendar week. The written notice of choice shall inform the inmate that additional minor
violations during that period shall require a Disciplinary Hearing.

3. A written copy of the charge, or if waiver is obtained, the signed waiver shall be transmitted with
dispatch by the correctional officer to the superior officer on duty at the time. Upon receipt of same, the
superior officer may, if he considers the violation too minor to warrant imposition of discipline, dismiss
the charges and/or release the inmate from confinement in his cell.

B. When an employee or officer considers a written charge and full disciplinary procedures necessary for
proper discipline and control, he must show in writing on an inmate violation report form: inmate's
name, housing work assignment, if applicable; time, date, place and charge; give known [**58] details
concerning the alleged violation, and sign the report.

C. An officer may take immediate custody of an inmate being charged with a disciplinary infraction, if
such action is deemed by the officer to be necessary to avoid assault or serious disorder. However, only
a superior officer may determine that an inmate should be held pending further investigation or hearing
by a disciplinary board. Such detention should take place only when it appears that the inmate
represents a threat to himself or to others, or to the security or order of the institution. The superior
officer determining that detention prior to an investigation and hearing is necessary must make a
written report, and his decision is subject to review by the assistant director, deputy assistant director,
or associate director as soon as possible. Such detention should only last as long as the circumstances
requiring it remain in effect and in no event should an inmate be detained without a hearing beyond the
next meeting of the disciplinary board. If an inmate is locked up pending an investigation and
disciplinary hearing, such detention must not be in the punitive segregation area unless the security or
safety of the institution so requires.

Il. INVESTIGATION BY A SUPERIOR OFFICER

A. The reporting officer or employee must submit a written report of a charge to a superior officer as
soon as possible after the alleged violation occurs
 

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B. A superior officer shall with dispatch and under any circumstances no later than one day after filing
the charge, orally inform the inmate of the charge against him.

C. The superior officer shall conduct a preliminary investigation of the matter without unnecessary
delay. The investigation will include interviews with the reporting employee, the inmate charged, and
any other employee or inmates indicated.

D. The superior officer shall make a written summary of his investigation including the results of his
interviews and a notation of notice to the inmate. He shall sign and submit a full report to the Associate
Director of the facility in which the infraction occurs. A copy of the disciplinary report filed by the
superior officer should be given to the inmate prior to any disciplinary hearing together with the notice
required in subsection F infra.

E. The Associate Director may either dismiss the charge or transmit notice of the hearing to the Chief of
Classification Services, who shall in turn assign responsibility for the notice and subsequent procedures
to a classification counselor. Said notice shall be timely and shall include the date and time of the
hearing, the charge, including institutional rule violated, reference to the time, place, and other persons
involved, if any; and the notice of the right to assistance by a classification counselor and the right to
appeal to the Assistant Director or Deputy Assistant Director any unfavorable disposition by the
disciplinary board.

F. The assigned classification counselor will provide the inmate with a copy of the notice he has received
concerning the hearing. Notice of the hearing must be transmitted to the inmate in a sufficient period of
time prior to the hearing to give the inmate an opportunity to prepare a defense.

G. Any inmate being charged shall have the right to be assisted at the disciplinary hearing by a
classification counselor, or any other individual authorized by the Assistant Director and Deputy
Assistant Director, Adult Services. The inmate shall be informed of this right as part of the [**61] notice
provided of the hearing itself.

H. Only a duly authorized Disciplinary Board has power to issue punishment to inmates, including those
in the Behavioral Conditioning Unit, except as indicated in Section |, paragraph A(1) above.

|. Whenever an inmate is charged with an institutional violation where he may be the subject of criminal
prosecution, the written notice referred to in paragraphs E and F above shall so notify the inmate, and
advise him that although statements he makes in his defense at a disciplinary hearing are probably not
admissible for affirmative use by the prosecution at a trial, he may wish to consult an attorney to
determine what action to take.

Ill. THE HEARING BEFORE THE DISCIPLINARY BOARD

A. The disciplinary board shall consist of three members. The Associate Director or in his absence, a
Superior Officer of the facility in which the alleged infraction occurred shall be the chairman. The two
remaining members shall be personnel from the custody and treatment departments respectively. The
disciplinary board shall meet at least twice during each calendar week, at least three days apart.

B. Any officer or employee who initiates a violation report or who investigates and reviews the initiating
officer's report is not eligible to sit on the disciplinary board to hear that case.
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C. The hearing shall be conducted in the following manner.
1. The circumstances of the charge will be read and fully explained by the Chairman of the Board.
2. The inmate shall admit or deny the charges.

3. The board members may interrogate the inmate and others as necessary. All interrogation will take
place in the presence of the inmate, except where the board determines that an informant's identity
must be protected. In those cases, the board shall make such a determination on the record and
indicate the nature of the informant's testimony.

4. If the inmate thinks the charge against him is untrue (in whole or in part), he may present information
available to him and others. Said presentation shall include the right to call a reasonable number of
witnesses, both adverse and favorable and examine said witnesses.

5. If the inmate has requested the assistance of a classification counselor or other individuals approved
by the Assistant Director and Deputy Assistant Director of Adult Services, said person shall assist him in
the presentation of the case.

6. Upon completion of the hearing, the Disciplinary Board shall take the matter under advisement.

7. After decision is reached by the Board, the inmate shall be called before the board to hear the
decision and to be advised of its rationale and consequences.

8. A board decision must be based upon substantial evidence.

9. In the event of an unfavorable disposition, the inmate will be informed of his right to appeal the
decision of the disciplinary board to the Assistant Director or Deputy Assistant Director. It is to be made
clear to the inmate that with respect to any appeal he may request assistance from his classification
counselor or other individuals approved by the Assistant Director and Deputy Assistant Director of Adult
Services in framing what he believes is wrong with the decision. The inmate shall be allowed to have his
objection, if any, incorporated in the case record submitted for review.

10. Any inmate appearing before a disciplinary board may upon request have a recording made of the
hearing provided that the equipment for said recording must be furnished by the inmate and that said
recordings are to be impounded except for purposes of administrative or judicial review.

Actions Taken by a Disciplinary Board may be as follows:

1. Dismissal of charge

N

. Reprimand

3. Recommendations to classification board for change of status

&

. Temporary loss of specified privileges within inmate classification not to exceed thirty days

wn

. One to thirty days placement in punitive segregation

n

. #5 above plus referral to classification board with recommendations of classification

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. Loss of good time as prescribed by law under 42-56-24 of the General Laws
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8. Any combination of 3 through 7 above and/or suspended action on any or all of 3 through 7 above

IV. REVIEW

A. Within three days of the Disciplinary Board decision (Sundays and holidays excluded) if an inmate
requests an appeal of a decision of the disciplinary board, the record of any proceedings shall be
forwarded to the Assistant Director or Deputy Assistant Director. This review shall be completed and the
inmate notified of the decision on review within one week. Disposition shall be suspended

during [**65] this period.

B. If the Assistant Director or Deputy Assistant Director is in agreement with the Disciplinary Board
decision, the decision is approved and ordered.

C. If the Assistant Director or Deputy Assistant Director does not agree with the Disciplinary Board
decision, he may order further proceedings or he may reduce or suspend any result of a Disciplinary
Board hearing unfavorable to the inmate.

D. The inmate will be notified of any change resulting from the review process,

Wherever individuals are named in their position of authority, it is permissible in their absence for their
lawful substitutes to replace them.

V. THE DISCIPLINARY RECORD

A. Arecord shall be maintained of all disciplinary proceedings including review by the Assistant Director
or Deputy Assistant Director.

B. The disciplinary record shall include:

1. Asummary of all information produced at the hearing including:

a. testimony of all witnesses

b. the written summary investigation report referred to in Il. D above

c. the nature of the testimony of any unidentified informant

2. Physical evidence viewed

3. Findings of fact and the supporting reasons for the disposition decided upon

4, Rationale for etanne in disposition upon review by the Assistant Director or Deputy Assistant Director

C. Acomplete record of all disciplinary proceedings shall be maintained in the inmate's permanent file. If
the right to be granted a hearing for a minor violation is exercised, the disciplinary board must indicate:
(1) that the option of loss of institutional privileges for one or two nights has been tendered and

refused; (2) if disposition in excess of the aforementioned two-day period is meted out, the supporting
explanation must be included on the record. If the right to a disciplinary hearing is waived, the violation
shall in no way appear on the inmate's record or upon any record placed before the Parole Board or
Classification Board. Records of all such minor violations for which the right to a disciplinary hearing is
waived shall be maintained for one year, and a copy shall be given to the inmate when the penalty is
imposed.
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D. Substantial Evidence. A determination of the Disciplinary Board must be based upon substantial
evidence manifested in the record of [**67] disciplinary proceedings.

E. If any of the facts establish that the Board made a determination based upon information obtained
from an unidentified informant, then the record must (1) contain some factual information from which
the Board can reasonably conclude that the informant was credible and his information reliable,
including independent corroborating material and (2) establish that the informant spoke with personal
knowledge of the matters contained in such statement.

PUNISHABLE CONDUCT
Inmates will be subject to disciplinary action if found guilty of the following:

a) Disobeying a lawful order of the Department Director, Assistant Director, Deputy Assistant Director,
or any officer or employee of the institution, or of any written prison rule;

b) Escape from the institution or custody of the institutional personnel or attempt to escape including
any attempt to tamper with security devices, possession of articles for such tampering or hiding in an
unauthorized area;

c) Disregard, neglect, or refusal to work without valid reason;

d) Swearing, cursing, or use of any other vulgar, abusive, insolent, threatening or any other
improper language toward any other inmates, officer, or person visiting the institution or indecency in
language, action, or gesture at any time;

e) Committing of any assault or battery whatsoever on employees, inmates, or any person;
f) Leaving of cell or place of assignment or other appointed place without permission;

g) Willfully disfiguring, damaging, or destroying any part of the institution, or any materials, tools, or
machinery;

h) Committing of any overt mutinous act, inciting a riot and/or general disturbance in any part of the
institution or on any work assignment;

i) Being intoxicated (by homemade intoxicants or purchased intoxicants) or under the influence of any
kind of alcohol, drug, barbiturates, and/or amphetamines not prescribed by an institutional medical or
psychiatric physician or possession of same;

j) Making or having possession of any type of dangerous weapon or facsimile;

k) Failing to report to any required destination without authorization, permission, or valid reason;
|) Possession of currency, coin or paper, without authorization;

m) Forgoing or altering an institutional pass;

n) Making or attempting to make credit contracts in any form without authorization;

0) Giving false information to an officer or employee of the institution;
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p) Passing or receiving contraband from another inmate, visitor and/or employee regardless of the place
of occurrence;

q) Gambling of any type;
r) Possession of a syringe and/or needle or similar device;

s) Possession of controlled medication without prescription and authorization from an institutional
medical official;

t) Fraudulent requests of any type, i. e. check requests, commissary orders, etc., to circumvent
established rules, regulations, and procedures for the same;

u) Stealing and/or unauthorized possession of state property or any property;
v) Making unauthorized telephone calls;

w) Refusal to submit to required examination after superior officer has determined inmate is under the
influence of a narcotic and/or alcoholic stimulant;

x) Any conduct constituting a crime under the ordinances of cities and towns and/or state or federal
laws. Such conduct may subject the offender to prosecution in addition to institutional punishments.

MINIMUM STANDARDS

|. Except as otherwise provided, every inmate of the A.C.I. in categories A, B, C, and D or disciplinary
status, excluding punitive segregation, shall be entitled to at least the following:

A. A cell equipped with lighting sufficient for an inmate to read by during hours prior to the time cell
illumination is required to be extinguished for inmates in the general population, toilet and sink, bed,
and mattress.

B. Clothing to the extent required for use in the general population.

C. Bedding, including blanket, sheets, pillows, and pillowcases.

D. Personal hygiene supplies (including soap, toothbrush, toothpaste, powder, towel and toilet paper).
E. Minimum writing materials.

F. Prescription eyeglasses.

G. Any book, periodical, document, or other paper of his that he would be permitted to have in the
general population, not to exceed five, except that such limitation shall not apply to lawbooks, legal
periodicals, or other legal materials.

H. Meals of the same type and quantity as provided in the general population.
|. Showers at least twice a week.

J. Exercise outside of the cell for at least one hour each day and where weather permits, such exercise
shall be out-of-doors every other day. (holidays & weekends excluded)

K. Correspondence privileges available to all inmates.
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L. Daily access to medical facilities.

M. Visiting subject to usual administrative control.

MINIMUM STANDARDS OF CONFINEMENT WHILE IN PUNITIVE SEGREGATION

A. A cell equipped with lighting sufficient to read by, toilet, sink, bed, blankets, and mattress.

B. Suitable clothing.

C. Personal hygiene supplies (including soap, toothbrush, toothpaste, powder, towel, and toilet paper).
D. Writing materials, type and amount in discretion of superior officer on duty.

E. Prescription eyeglasses.

F., Reasonable reading material, at least two books of inmate's choice and owned by the inmate.
G. Meals of the same type and quantity as provided in the general population.

H. Showers at least twice a week.

|. Exercise outside cell not to commence until after five days unless otherwise ordered by institutional
physician.

J. Right to send mail and receive letters.
K. Access to medical facilities.

For purposes of punishment no inmate is ever, under any circumstances, to be deprived of any item or
activity required under these MINIMUM STANDARDS provisions, however,

1. Whenever in the judgment of the Assistant Director, Deputy Assistant Director, Associate Director, or
Superior Officer in charge of a facility there is danger that an inmate will destroy any item required to be
furnished or will be injurious to himself or to another, any of the above minimal entitlements may be
denied as necessary to remove the danger.

2. Upon removal of any minimal entitlement, a written report shall be made and forwarded to the Ass't.
Director within 12 hours identifying the inmate, the item or activity of which he has been deprived and
the reason therefor, which report shall be reviewed in timely manner by the Ass't. Director.

3. Upon receipt of any such report, which indicates that the inmate constitutes a danger to himself
and/or others, the Assistant Director or his designee shall arrange for a physician to visit the inmate as
soon as possible. Any recommendations of the physician must be followed immediately.

4. In all cases where minimal items or activities are deprived they shall be restored as soon as
restoration appears to be consistent with safety.

Inmates confined under punitive segregation conditions are to be visited by a physician at least every
other day.

EMERGENCY OR TEMPORARY PROVISIONS
 

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When faced with an immediate threat to the security or safety of the Adult Correctional Institutions or
any of its employees or inmates, officials of the institution may temporarily reassign inmates in
accordance with the following regulations.

|. Reassignment by a correctional officer on approval of his immediate supervisor:
A. When a correctional officer or other employee witnesses an inmate commit a serious wrongdoing.

B. When an inmate presents reasonable eye witness information that an inmate committed a serious
wrongdoing.

C. When an inmate seeks safety or protection from others.
\|, By supervisory officials of rank of Lieutenant or above, pending investigation.
A. When an inmate is suspected of serious wrongdoing, either committed or planned.

B. When an inmate is suspected of being a witness to overt acts which constitute a serious violation of
institution regulations or a violation of state law.

C. When requested by prosecuting attorney or superintendent of State Police.
1. When inmate is suspected as perpetrator of a crime.
2. When inmate is a material witness to a criminal act.

Requests under C will be honored upon oral request but shall not be observed beyond seventy-two (72)
hours in absence of receipt by Assistant Director of a written confirmation by requesting authority.

Ill. All inmates assigned temporarily under the preceding provisions will, as soon as reasonably possible,
be informed in writing of the reason for their assignment and will be afforded all other rights due them
under institution disciplinary and classification procedures.

IV. Awritten record of all temporary reassignments shall be forwarded to the Associate Director for his
concurrence or nonconcurrence, and he shall forward the record to the Assistant Director or his
designee for approval or disapproval. The report showing review of each is to be placed in the inmate's
permanent classification file.

V. All temporary assignments shall be reviewed at the next regular meeting of the Classification Board,
which in any case will not exceed one week, and final action by the Board will be ordered without
unnecessary delay.

REGULATIONS GOVERNING MAIL FOR ALL INMATES AT THE ADULT CORRECTIONAL INSTITUTIONS.
1. All outgoing mail shall be transmitted unopened and uninspected.

2. All incoming mail may be opened and inspected solely for the purpose of detecting contraband and
said mail may not be read or delayed.

3. Any incoming mail of any kind designated from courts, judges, or attorneys may be opened for
inspection only in the presence of the inmate addressee.
